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*A0 2458      (Rev. 06105) Judgment in a Criminal Case
                                                                   #290
              Sheet I




                        SOUTHERN                                 District of                                 ILLINOIS

         UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                             v.
                KEON D. PENDLETON
                                                                        Case Number:           4:06CR40029-001-JP

                                                                        USM Number: 06853-025
                                                                         Judith Kuenneke, FPD                           @
                                                                                                                         ,       *     ---."-
                                                                        Defendant's Attorney                                  - .:a*
THE DEFENDANT:
dpleaded guilty to count(s)          1 of the Third Superseding Indictment
   pleaded nolo conte-A---    +


   which was accepteu uy UIC
   was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                      Offense Ended




       The defendant is sentenced as provided in pages 2 through            10          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
   The defendant has been found not guilty on count(s)
   Count(s)                                                 is      are dismissed on the motion of the United States.

         It is ordered     the defendant must notify the C'nlted States anomey for t h ~ dismct
                                                                                         s      w~thin30 c!a s of any ~ h a nre ofnamc, rcs~dencc,
or mailin address untll all fines, restltuuon, costs, and spec~alasscssmenls Imposed by this judgment are tuKy       if ordkred to pay restltutlon,
the defen5ant must not~fythe coun and United States attorney of material changes In cconornlc circumstances.




                                                                         J. Phil Gilbert                             District Judge
                                                                        Name of Judge                              Title of Judge
                                                                          h



                                                                        Date
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              Sheet 2 - imprisonment
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                                                               IMPRISONMENT
        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total ternof:

  262 months on Count 1 of the Third Superseding Indictment.



      &$The court makes the following recommendations to the Bureau of Prisons:
  That the defendant be placed in the Intensive Drug Treatment Program.



      @ The defendant is remanded to the custody of the United States Marshal.
           The defendant shall surrender to the United States Marshal for this district:
                at                                      a.m.     0 p.m.       on
                as notified by the United States Marshal.

           The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                before 2 p.m. on
                as notified by the United States Marshal.
                as notified by the Probation or Pretrial Services Office.


                                                                    RETURN
I have executed this judgment as follows:




           Defendant delivered on                                                          to

 at                                                    , with a certified copy of this judgment.



                                                                                                      UNITED STATES MARSHAL


                                                                            BY
                                                                                                   DEPUTY UNITED STATES MARSHAL
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              Sheet 3 -Supervised Release
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DEFENDANT: KEON D. PENDLETON
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                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:

  10 years on Count 1 of the Third Superseding Indictment.



     The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Pnsons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawful1 possess a coutrolled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall suimit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as detemmed by the court.
        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
 $( The defendant shall not possess a fuearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
        student, as directed by the probation officer. (Check, if applicable.)
        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this 'udgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule ofi~aymentssheet of this judgment.
      The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                            STANDARD CONDITIONS OF SUPERVISION
   1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the fust five days of
           each month,
   3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)      the defendant sball support his or her dependents and meet other family responsibilities;
   5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
   6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or admjpister any
           controlled substance or any paraphernalia related to any controlled substances, except as prescr~bedby a physic~an;
   8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9) the defendant shall not associate with any persons en aged in criminal activity and shall not associate with any person convicted of a
      felony, unless granted permission to do so by the profation officer;
  10)      the defendant shall permlt a probat~onofficer to vls~th ~ m
                                                                     or her at any time at home or elseu,herc and shall pemut confiscation of any
           contraband observed in plain vlcw of the probation officer;
  11)      the defendant shall notify the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement officer;
  12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and
  13)      as duected by the robation officer, the defendant shall notify third parties of rlsks that may be occasioned by the defendant's criminal
           record or personay history or characterlst~csand shall permlt the probat~onofficer to make such notlficatlons and to c o n f i the
           defendant s compliance w~thsuch notification requirement.
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           Sheet 3C - Supervised Release
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                                         SPECIAL CONDITIONS OF SUPERVISION
 X The defendant shall cooperate in the collection of DNA as directed by the probation officer.

 X The defendant shall submit his person, residence, real property, place of business, computer, or vehicle to a search.
 conducted by the United States Probation Officers at a reasonable time and in a reasonable manner, based upon
 reasonable suspicion of contraband or evidence of a violation of a condition of supervision. Failure to submit to a search
 may be grounds for revocation. The defendant shall inform any other residents that the premises may be subject to a
 search pursuant to this condition.

 X The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
 commencement of the term of Supelvised release. The defendant shall pay the fine in installments of $10.00 per month or
 ten percent of his net monthly income whichever is greater.

 X The defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office
 with access to any requested financial information. The defendant is advised that the probation office may share financial
 information with the Financial Litigation Unit.

 X The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, andlor any other
 anticipated or unexpected financial gains to the outstanding court-ordered financial obligation. The defendant shall
 immediately notify the probation officer of the receipt of any indicated monies.

 X The defendant shall participate as directed and approved by the probation officer in treatment for narcotic addiction, drug
 dependence, or alcohol dependence, which includes urinalysis or other drug detection measures and which may require
 residence andlor participation in a residential treatment facility. Any participationwill require complete abstinence from all
 alcoholic beverages. The defendant shall pay for the costs associated with substance abuse counseling andlor testing
 based on a co-pay sliding fee scale approved by the United States Probation Office. Co-pay shall never exceed the total
 costs of counseling.

 X Defendant shall submit within 15 days, not to exceed 52 tests in a one year period for drug urinalysis
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           Sheet 5 -Criminal Monetary Penalties


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                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6

                      Assessment                                            -
                                                                            Fine                                Restitution
TOTALS             $ 100.00                                               $ 100.00                          $ 0.00



     The determination of restitution is deferred until                  . An Amended Judgment in a Criminal Case (A0 245C) will be entered
     after such determination.

     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each pa ee shall receive an approximately ro ortioned ayment, unless specified athenvise jn
     the priority order or percentage payment columnielow. However, pursuant to 18
     before the Umted States is paid.
                                                                                               tfk.5.
                                                                                              9 366481, all nonfederal victims must be pa~d

Name of Pavee                                                                Total*             Restitution Ordered            Prioritv or Percentaee




 TOTALS                               $                           0.00          $                     0.00


      Restitution amount ordered pursuant to plea agreement $

      The defendant must pay interest on restitution and a fme of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. $ 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).

      The court determined that the defendant does not have the ability to pay interest and it is ordered that:
      g( the interest requirement is waived for the          I$     fme         restitution.
           the interest requirement for the           fine        IJ restitution is modified as follows:


 * Findings for the total amount of losses are re uired under Chapters 109A, 110,11OA, and 113A of Title 18 for offenses committed on or after
 September 13, 1994, but before April 23, 199%.
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           sheet 6 - ~ched;leof Payments                         #295

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                                                      SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetiuy penalties are due as follows:

 A    I$
       Lump sum payment of $                                 due immediately, balance due

                 not later than                                  Or
                 in accordance                C,       D,         E, or    @fF below; or
 B         Payment to begin immediately (may be combined with              C,          D, or        F below); or

 C         Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

 D         Payment inequal                     (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

 E         Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F    &(   Special instructions regarding the payment of criminal monetav penalties:
            While on supervised release, the defendant shall make monthly payments in the amount of $10.00 or ten percent
            of his net monthly income, whichever is greater, toward his fine.




 Unless the court has express1 orderedotherwise, if this jud ment imposes imprisonmenf a ent of criminalmonetary penalties is due durip
 imptiso-ent.     AU cnminaYmone% penalties, except ?hose payments made thougR E ~ e d e r ~
 Responsibility Program, are made to e clerk of the court.
                                                                                                   a u~r e a uof h s o n s ' Inmate Fmanc~a       7
 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



      Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




      The defendant shall pay the cost of prosecution.

      The defendant shall pay the following court cost(s):

 [7   The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payments shall be applied in the following order: (1 assessment, (2) restitution principal, (3) restitution interest, (4) fme principal,
 (5) fme interest, (6) community restitution, (7)         and (8) costs, mcludmg cost of prosecuhon and court costs.
